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                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF PENNSYLVANIA
                                    PHILADELPHIA DIVISION

In Re:
                                                              13
         Geneva T. Gass
                                                              Bky No. 19-10031-ELF
                          Debtor



                                               ORDER
                               21st                 August
         AND NOW, this ______ day of __________________, 2019, upon consideration of APPLICATION
OF DEBTOR(S) COUNSEL FOR APPROVAL OF COUNSEL FEES submitted by Jensen Bagnato, P.C.,
counsel for debtor(s) and after notice it is hereby

        ORDERED that counsel fees in the amount $4,000.00 are ALLOWED and that the remaining balance of
$2,865.00 may be paid by the trustee to the extent provided in the confirmed plan.




                                       ______________________________________
                                       ERIC L. FRANK
                                       U.S. BANKRUPTCY JUDGE
